                      UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:                                    : No. 1:23-bk-00988-HWV
    UPTOWN PARTNERS, LP d/b/a              :
    Residences at Governor’s Square,       :     Chapter 11
    a/k/a Governor’s Square Apartments     :
                          Debtor           :
                                           :

               APPLICATION TO APPROVE THE EMPLOYMENT OF
            JOEL A. READY, ESQUIRE AND CORNERSTONE LAW FIRM
             AS SPECIAL COUNSEL TO THE DEBTOR AND TO ALLOW
                         AN ADMINISTRATIVE CLAIM

       The Application of Uptown Partners, LP d/b/a Residences at Governor’s Square,

 a/k/a Governor’s Square Apartments (Debtor) by and through its attorneys, Cunningham,

 Chernicoff & Warshawsky, P.C., to Approve the Employment of Joel A. Ready, Esquire

 and Cornerstone Law Firm as Special Counsel to the Debtor and to Allow an

 Administrative Claim for fees and expenses incurred beginning May 3, 2023, is as

 follows:

       1.      On May 2, 2023, Debtor filed a Petition under Chapter 7 of the United

 States Bankruptcy Code.

       2.      On September 13, 2023, the Court entered an Order converting the case to a

 case under Chapter 11 of the Bankruptcy Code.

       3.      The Debtor is in possession of its property and as a Debtor-in-Possession.

       4.      In order that the Debtor have representation regarding pending criminal

 citations in the Dauphin County Court of Common Pleas, the Debtor requests that this




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 Honorable Court authorize the retention of Joel A. Ready, Esquire and Cornerstone Law

 Firm (collectively “Ready”) to represent the Debtor as special counsel.        Ready has

 represented the Debtor pre-Petition in matters related to the criminal citations. Prior to

 and since the filing of the Petition, Ready has been performing services for the Debtor

 related to the criminal citations.

        5.       The Debtor has selected Ready because he has expertise in dealing with

 such matters.

        6.       Ready has performed services for the Debtor pre-Petition. Ready has also

 performed defense services for the Debtor beginning shortly after the Petition Date. Such

 services are for non-bankruptcy matters, relating to criminal defense matters.       Such

 services represent administrative claims of the Debtor.

        7.       The professional services to be rendered by Ready include, but are not

 limited to, representation of the Debtor concerning criminal citations in the Dauphin

 County Court of Common Pleas, and related matters (the “Defense Services”).

        8.       Ready will not perform any services in connection with the actual

 bankruptcy case of the Debtor which would duplicate the services performed by general

 bankruptcy counsel for the Debtor.

        9.       Ready believes that it represents no interest adverse to the Debtor. Ready

 is not a creditor of the Debtor.




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        10.    Ready further believes that it has no connection with Debtor's creditors as

 set forth on the Verification of Joel A. Ready, Esquire. Because Ready is being retained

 as special counsel, the disinterestedness standard does not apply.

        11.    The Debtor will be billed by Ready, with such bills to be paid based upon

 further Orders of the Court. All charges will be billed at the firm’s standard hourly

 billing rates otherwise in effect for comparable work performed by the law firm, such

 rates currently being:

                Attorneys                      $275.00
                Paralegal                      $165.00

        Fees and expenses charged and payments thereon will be subject to the approval

 of the Bankruptcy Court upon proper application, and subject to the provisions of 11

 U.S.C. §330 and Rule 2016 of the Rules of Bankruptcy Procedure. The Debtor believes,

 and therefore avers, that Ready is qualified to serve as special counsel for the Debtor in

 these proceedings, and further believes that the rates to be charged thereby are fair and

 reasonable, and those customarily charged by Ready for such services.

        12.    For the reasons set forth above, the employment of Ready as Special

 Counsel to the Debtor regarding criminal citations in the Dauphin County Court of

 Common Pleas and related matters is necessary and should be approved.

        WHEREFORE, Debtor prays that its employment of Joel A. Ready, Esquire and

 Cornerstone Law Firm, as set forth in this Application, to represent the Debtor as special

 counsel in matters involving criminal citations in the Dauphin County Court of Common




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 Pleas and related matters and to Allow an Administrative Claim for allowed fees, be

 approved by the Court, and that Debtor have such other and further relief as is just and

 proper.

                                         Respectfully submitted:

                                         CUNNINGHAM, CHERNICOFF
                                         & WARSHAWSKY, P.C.

                                         By:       /s/ Robert E. Chernicoff
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 Date: August 5, 2024




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